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              EXHIBIT 9
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IL Department of Healthcare and Family Services (James Parker)                             November 18, 2008

                                               Springfield, IL

                                                                                               Page 1
                       IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF MASSACHUSETTS

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         IN RE:     PHARMACEUTICAL INDUSTRY                )

         AVERAGE WHOLESALE PRICE LITIGATION ) MDL No. 1456

         -----------------------------------) Civil Action

         THIS DOCUMENT RELATES TO:                         ) No. 01-12257-PBS

         United States of America, ex. rel. ) Hon. Patti Saris

         Ven-a-Care of the Florida Keys,                   ) Magistrate Judge

         Inc., v. Abbott Laboratories, Inc.,)

         Civil Action No. 06-11337-PBS; and )

         United States of America, ex. rel. ) VIDEOTAPED

         Ven-a-Care of the Florida Keys,                   ) DEPOSITION OF

         Inc., v. Dey, Inc., et. al., Civil ) THE ILLINOIS

         Action No. 05-11084-PBS; and United) DEPARTMENT OF

         States of America, ex. rel.                       ) HEALTHCARE AND

         Ven-a-Care of the Florida Keys,                   ) FAMILY SERVICES

         Inc., v. Boehringer Ingleheim                     ) by   JAMES PARKER

         Corp. et. al., Civil Action                       )

         No. 07-10248-PBS.                                 ) NOVEMBER 18, 2008

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IL Department of Healthcare and Family Services (James Parker)                                       November 18, 2008

                                               Springfield, IL
                                                     Page 58                                               Page 60
  1   the Interrogatory answer relating to the State     1       State's spending on the Medicaid program?
  2   Maximum Allowable Cost?                            2           A. A very significant impact, yes.
  3      A. (Witness so doing.)                          3           Q. Is changing the reimbursement formula
  4      Q. Does the Interrogatory answer there          4       an easy process?
  5   correspond to the entry on Exhibit 3 dealing with 5            A. No.
  6   SMAC?                                              6              MR. BERLIN: I'm sorry, objection,
  7      A. Yes.                                         7       form.
  8      Q. Turning back to Exhibit 11, which is         8       BY MS. OBEREMBT:
  9   the one we just handed you, do you recognize this 9            Q. Does it require a State Plan Amendment
 10   document?                                         10       change?
 11      A. Yes.                                        11           A. Yes.
 12      Q. What is it?                                 12           Q. Do you also need to issue rules in
 13      A. It is a summary prepared by Department      13       order to implement the change?
 14   staff of enrolled pharmacies and total enrolled   14           A. Yes.
 15   providers in the Medicaid program annually from 15             Q. Do the rules require the consent of the
 16   1991 to 2008.                                     16       Illinois legislature?
 17      Q. And does it reflect that the -- the         17           A. They must go through a Joint Committee
 18   smallest number of enrolled pharmacies Illinois' 18        on Administrative Rules, which is a standing
 19   ever had was in 1995?                             19       committee of the legislature with members from
 20      A. Yes, it does.                               20       all four caucuses which has the power to prohibit
 21      Q. And does the -- are the number of           21       rules if they disagree with them.
 22   enrolled pharmacies in 2008, is that more than    22           Q. Do other parts of HFS weigh in before
                                                     Page 59                                               Page 61
  1   what you had the lowest in 1995?                   1       you issue a final version of a rule?
  2      A. Yes, it is.                                  2           A. Our rulemaking process internally to
  3      Q. And when you look at the list of the         3       the Agency does circulate the rules to all of the
  4   enrolled pharmacies, I mean do you see any really 4        divisions, and the rules would be commented upon
  5   large variation in the numbers over the course of  5       by the Division of Finance and the Office of
  6   the years starting in 1991 to 2008?                6       General Counsel and at times the Office of
  7      A. No, it's fairly steady compared to           7       Information Systems, which is the computer people
  8   other provider types.                              8       that have to program every policy change into the
  9      Q. And how about with respect to total          9       computers.
 10   enrolled providers, the column on the right side  10           Q. Turning back to Exhibit 3, has the
 11   of Exhibit 11, has that also tended to increase   11       State of Illinois historically determined its
 12   over the years?                                   12       Estimated Acquisition Costs separate from its
 13      A. That has increased over the years from      13       determination of a dispensing fee?
 14   38,000 to 59,000.                                 14           A. Yes, I mean there was a period when
 15      Q. You had mentioned earlier that the          15       there was a correlation between a dispensing fee
 16   State had attempted to use variations in          16       on an individual product and acquisition cost,
 17   dispensing fees to incentivize the use of         17       but the process of determining each is separate.
 18   generics. Why would Illinois want pharmacists to 18            Q. Has the State of Illinois ever had a
 19   dispense generics versus brand drugs?             19       practice or a policy of paying increased
 20      A. Because they cost less than brand           20       ingredient cost in order to make up for some type
 21   drugs.                                            21       of inadequate dispensing fee?
 22      Q. Does that make an overall impact on the     22           A. No.
                                                                                     16 (Pages 58 to 61)
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